Case 8:04-cr-00495-JSM-MAP Document 137 Filed 11/14/06 Page 1 of 2 PageID 297




UNITED STATES OF AMERICA

v.                                                Case No.:8:04-CR-495-T=30MAP

JAMES AUGUSTUS STIDHAM



                     REVOCATION OF SUPERVISED RELEASE
                       AND JUDGMENT AND COMMITMENT

       On November 14, 2006, came the United States Attorney and the Defendant

JAMES AUGUSTUS STIDHAM, who appeared in person and with counsel.

        It appearing to the Court that the above named Defendant having heretofore been

 convicted on March 1, 2005 was placed on supervised release. It further appearing to the

 Court that the above named Defendant has since violated the terms of his supervised

 release and the Probation Officer of this Court has petitioned the Court to revoke the Order

 of ProbationlSupervised Release previously entered herein.

        The Court has considered the factors set forth in 18 U.S.C. §3553(a), including

 considering the guidelines as advisory, and has also considered recommendations from

 the Probation Office. It is, therefore! ORDERED and ADJUDGED that the Order of

 ProbationISupervised Release entered herein as to the above named Defendant is hereby

 REVOKED.

        It is further ORDERED and ADJUDGED that the Defendant is hereby sentenced

 to EIGHT (8) MONTHS imprisonment with no term of supervised release to follow.
Case 8:04-cr-00495-JSM-MAP Document 137 Filed 11/14/06 Page 2 of 2 PageID 298




       It is further ORDERED that the Clerk deliver a certified copy of this Judgment and

Commitment to the United States Marshal or other qualified officer and the copy serve as

the commitment of the Defendant.




       DONE and ORDERED at Tampa, Florida, this               day of November, 2006.




                                                 JA&S~$; MOODY: JR.

 Copies furnished to:
 CounsellParties of Record
 United States Marshal
 United States Probation Office




                                        Page 2 of 2
